     Case 2:08-cv-01174-PMP-GWF         Document 128    Filed 08/31/10    Page 1 of 2




 1

 2

 3

 4                            UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6                                            ***
                                              )
 7   GREGORY RICKS,                           )
                                              )
 8            Plaintiff/Counterdefendant,     )        2:08-CV-01174-PMP-GWF
                                              )
 9   v.                                       )
                                              )
10   BMEZINE.COM, LLC,                        )         ORDER
                                              )
11            Defendant/Counterclaimant.      )
                                              )
12   BMEZINE.COM, LLC,                        )
                                              )
13            Third Party Plaintiff,          )
                                              )
14   v.                                       )
                                              )
15   GEE WHIZ DOMAINS PRIVACY                 )
     SERVICE,                                 )
16                                            )
              Third Party Defendant.          )
17                                            )
18            The Court having read and considered Defendant/Counter-Claimant’s Motion for
19   Leave to File Second Motion for Summary Judgment (Doc. #121), filed on August 18,
20   2010, Plaintiff/Counter Defendant Gregory Ricks and Third Party Defendant Gee Whiz
21   Domains, Inc.’s Opposition thereto (Doc. #125) filed August 23, 2010, and BMEzine’s
22   Reply (Doc. #127) filed August 26, 2010, and good cause appearing,
23   ///
24   ///
25   ///
26   ///
     Case 2:08-cv-01174-PMP-GWF        Document 128      Filed 08/31/10     Page 2 of 2




 1             IT IS ORDERED that Defendant/Counter-Claimant’s Motion for Leave to File
 2   Second Motion for Summary Judgment (Doc. #121) is DENIED.
 3             IT IS FURTHER ORDERED that the deadline for filing the joint pretrial order
 4   in this case is hereby extended to and including September 24, 2010.
 5

 6   DATED: August 31, 2010.
 7

 8
                                                 PHILIP M. PRO
 9                                               United States District Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                 2
